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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF NEW YORK

X
IGNANTIOS MASTELLOS and ERATO MASTELLOS,

 

Docket No.: 17-0\/-00415

Plaintiffs, (MKB)(ST)
- against -
JPW INDUSTRIES, INC., and
DEVLIEG-BULLARD, INC.,
Defendants.
---- -- X

 

MEMORANDUM IN OPPOSITION OF DEFENDANT’S MOTION TO DISMISS
PLAINTIFFS’ SECOND AMENDED COMPLAINT

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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF NEW YORK

X
lGNANTlOS MASTELLOS and ERATO MASTELLOS,

 

Docket No.: l7-cv-00415

Plaintiffs, (MKB)(ST)
- against -
JPW lNDUSTRlES, INC., and ATTORNEY AFFIRMATION
DEVLIEG-BULLARD, lNC.,
Defendants.
----X

 

 

l, KRISTEN N. SlNNOTT, am an attorney duly admitted to practice law before this
Honorable Court. declare under penalty of perjury that the foregoing is true and accurate:

l. l am the attorney for the Plaintiffs, IGNATIOS MASTELLOS and ERATO
MASTELLOS and as such l am fully familiar With the facts and circumstances of this action
based upon a review of the file.

2. This declaration is submitted in support of Plaintiffs’ Opposition to the
Defendant’s l\/[otion to Dismiss Plaintiffs’ Amended Verified Complaint pursuant to Fed. R. Civ.
P. l2(b)(l) and l2(b)(6).

3. The following documents are attached and are relied upon and cited in the
accompanying Memorandum of LaW:

Exhibit “A”: Plaintiffs’ Proposed Third Amended Verified Complaint

DATED: April 30, 2018
Garden City, New York

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